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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                       Defendant .

     REPLY TO THE GOVERNMENT’S OPPOSITION TO MY
       MOTION TO TRAVEL TO THE INAUGURATION


       On December 28, 2024, I respectfully moved the Court for permission to travel to the

Presidential Inauguration (ECF No. 383). Today, the government filed ECF No. 384, opposing

that motion, making the bewildering argument that I am a “danger to the D.C. community,” even

though the government previously conceded that I was “entirely peaceful” on January 6.

       I would point out to the Court that I never assaulted anyone, and I am not charged with

assault. Since January 6, 2021, I have traveled to Washington twice and have had nothing but

positive interactions with Capitol Police. In May of 2023, one former Capitol Police lieutenant

bought me coffee when I visited the Congressional office building to view the January 6 CCTV.

And when I toured the Capitol last October, I was very friendly to the USCP officer who led the

tour, and we shook hands when the tour ended.

       Still, the government continues to make the same stale arguments that they made in ECF

No. 232 at 9, which the Court rejected when granting me that tour of the Capitol. The fact is,

several January 6 defendants, including myself, have been in congressional office buildings and
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the Capitol within the last year, and no Capitol police have seem fazed. Unlike federal

prosecutors, these officers seem to have some mental toughness and down to earth qualities.

       The only people who freaked out about me touring the Capitol in October were the

members of the prosecution team and the FBI agents who stalked me the entire time, so I suspect

that the only individuals who will experience a mental breakdown if I attend the inauguration are

also on the prosecution team. For that reason alone, the Court should grant my travel as a way to

gently instill some emotional resiliance and critical thinking skills into these government

attorneys. Furthermore, U.S. Attorney Matthew Graves, whose name is on the government’s

opposition to my travel (ECF No. 384 at 6), has announced that he is resigning on January 16.

Graves clearly doesn’t believe in these cases enough to stay on to the very end, so why should I

continue to be disrespected by the employees he is abandoning?

       There is already precedent for the Court to approve my travel. On December 19, 2024,

District Judge Tanya Chutkan permitted defendant Eric Lee Peterson (24-cr-00376) permission

to attend the inauguration. Clearly, Judge Chutkan understands that we come in peace. Having

exchanged a friendly greeting with Judge Chutkan in the cafeteria of the courthouse when I was

recently in Washington, I got the impression that she more emotionally stable that some of these

junior government attorneys. I would also add that it would be embarrassing for me personally if

a Missouri resident (Peterson) were allowed to travel to the Inauguration, and I failed to do my

part to represent the Free State of Kansas. So, I urge the Court to permit my travel.

       As the Court knows, the American people faced a decision to either continue these

prosecutions or end them, and they voted to elect the candidate who campaigned on ending them.

The people’s decision is why I am being invited to the Presidential Inauguration in the first

place. And because the American people rejected the prosecution of this case, they have also
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rejected the continuation of my travel restrictions to Washington D.C., which, to be honest, were

ridiculous in the first place since I am an upstanding American citizen and entirely peaceful.

       I therefore move that my motion for permission to travel be granted. All I am asking is to

be allowed in Washington on January 19-21, 2025, and to attend the Presidential Inauguration. I

believe the odds are good that all my pretrial restrictions will be dropped shortly after noon on

January 20, 2025, and that at that point the prosecutors assigned to this case, if they are still

employed, will no longer be objecting to my presence in Washington D.C.

       Respectfully submitted to the court, and Happy New Year!

                                                       By: William Pope

                                                           /s/

                                                       William Pope
                                                       Pro Se Officer of the Court
                                                       Topeka, Kansas




                                        Certificate of Service
      I certify that a copy of this was filed electronically for all parties on January 2, 2025.

                                               /s/
                                  William Alexander Pope, Pro Se
